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  PEARSON, J.

                              UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF OHIO
                                    EASTERN DIVISION

  UNITED STATES OF AMERICA,                       )
                                                  )     CASE NO. 1:12-CR-00582-12
                 Plaintiff,                       )
                                                  )
                 v.                               )     JUDGE BENITA Y. PEARSON
                                                  )
  SHAUNCI OSBORNE,                                )
                                                  )
                 Defendant.                       )     ORDER



         This matter is before the Court upon Magistrate Judge Kathleen B. Burke’s Report and

  Recommendation (“R&R”) that the Court accept Defendant Shaunci Osborne’s (“Defendant”)

  pleas of guilty and enter findings of guilty against Defendant. ECF No. 149.

         On December 20, 2012, the Government filed an Indictment against Defendant alleging

  violations of 21 U.S.C. §§ 841(b)(1)(A), (B) and (C); 18 U.S.C. § 1956(h); 21 U.S.C. § 843(b),

  conspiracy to distribute heroin, conspiracy to commit money laundering and use of a

  communication facility, respectively. ECF No. 1. Thereafter, Defendant notified the Court of

  Defendant’s intent to enter pleas of guilty, pursuant to a written plea agreement. ECF No. 124.

  The Court issued an order referring the matter to Magistrate Judge Burke for the purpose of

  receiving Defendant’s guilty pleas. ECF No. 130.

         On May 2, 2013, Magistrate Judge Burke held a hearing during which Defendant

  consented to the order of referral (ECF No. 148) and entered guilty pleas as to Counts 1 and

  Count 2 of the Indictment. Magistrate Judge Burke received Defendant’s guilty pleas and issued

  a Report recommending that this Court accept Defendant Shaunci Osborne’s pleas and enter
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  findings of guilty. ECF No. 149.

          The time limitation to file objections to the Magistrate Judge’s Report and

  Recommendation has expired and neither party has filed objections or requested an extension of

  time.

          Fed. R. Crim. P. 11(b) states:

          Before the court accepts a plea of guilty or nolo contendere, the defendant may be
          placed under oath, and the court must address the defendant personally in open
          court. During this address, the court must inform the defendant of, and determine
          that the defendant understands, the following: (A) the government’s right, in a
          prosecution for perjury or false statement, to use against the defendant any
          statement that the defendant gives under oath; (B) the right to plead not guilty, or
          having already so pleaded, to persist in that plea; (C) the right to a jury trial; (D)
          the right to be represented by counsel—and if necessary have the court appoint
          counsel—at trial and at every other stage of the proceeding; (E) the right at trial to
          confront and cross-examine adverse witnesses, to be protected from compelled
          self-incrimination, to testify and present evidence, and to compel the attendance of
          witnesses; (F) the defendant’s waiver of these trial rights if the court accepts a
          plea of guilty or nolo contendere; (G) the nature of each charge to which the
          defendant is pleading; (H) any maximum possible penalty, including
          imprisonment, fine, and term of supervised release; (I) any mandatory minimum
          penalty; (J) any applicable forfeiture; (K) the court’s authority to order restitution;
          (L) the court’s obligation to impose a special assessment; (M) in determining a
          sentence, the court’s obligation to calculate the applicable sentencing-guideline
          range and to consider that range, possible departures under the Sentencing
          Guidelines, and other sentencing factors under 18 U.S.C. §3553(a); and (N) the
          terms of any plea-agreement provision waiving the right to appeal or to
          collaterally attack the sentence.

          The undersigned has reviewed the transcript and the Magistrate Judge’s R&R and finds,

  that in her careful and thorough proceeding, Magistrate Judge Burke satisfied the requirements of

  Fed. R. Crim. P. 11 and the United States Constitution. Defendant was placed under oath and

  determined to be competent to enter pleas of guilty. Defendant was made aware of the charges

  and consequences of conviction and his rights and waiver thereof. Magistrate Judge Burke also
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  correctly determined that Defendant had consented to proceed before the magistrate judge and

  tendered his pleas of guilty knowingly, intelligently and voluntarily. Furthermore, the magistrate

  judge also correctly found that there was an adequate factual basis for the pleas.

         Upon de novo review of the record, the Report and Recommendation is adopted.

  Therefore, Defendant Shaunci Osborne is adjudged guilty of Counts 1 and 2 of the Indictment,

  conspiracy to distribute heroin and conspiracy to commit money laundering, in violation of

  21 U.S.C. §§ 841(b)(1)(A), (B) and (C), and 18 U.S.C. § 1956(h), respectively.




         IT IS SO ORDERED.


   June 14, 2013                                s/ Benita Y. Pearson
  Date                                          Benita Y. Pearson
                                                United States District Judge
